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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

CTHC HOLDINGS, LLC                                                         PLAINTIFF

V.                                    4:18CV00106 JM

FIRST CAPITAL REAL ESTATE
INVESTMENTS, LLC,
UNITED REALTY CAPITAL OPERATING
PARTNERSHIP, LP, and SUNEET SINGAL                                         DEFENDANTS

                                   DEFAULT JUDGMENT

       Pending is Plaintiff CTHC Holdings, LLC’s (ACTHC@) Motion for Default Judgment

against Defendants, a Clerk’s Default having previously been entered against all Defendants

(ECF No. 62). It appears that the Motion for Default Judgment (ECF No. 63) is well taken and

should be GRANTED. Default judgment is entered against the Defendants as follows:

       a. Count I—Fraud. Judgment against Suneet Singal in the amount of $1,200,000.00 in

compensatory damages and in the amount of $1,000,000.00 in punitive damages;

       b. Count II—Replevin and Count III—Breach of Contract. Judgment in the amount of

$8,864,735.00 against the Defendants, jointly and severally.

       A motion for costs and attorneys’ fees must be filed separately and in accordance with

Rule 54(d) and Local Rule 54.1. The Clerk is directed to close the case.

       IT IS SO ORDERED this 17th day of March, 2020.



                                                            ___________________________
                                                            James M. Moody Jr.
                                                            United States District Judge
